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                                         aka MIKE PATEL; CHIRAG PATEL
                                       6 aka CHUCK PATEL; SAGESTAR
                                         MANAGEMENT GP, LLC; SAGESTAR
                                       7 HOLDINGS, LTD; DENISON
                                         LODGING, LLC; CORSICANA
                                       8 LODGING, LLC; DAXESH PATEL;
                                         SANJAY PATEL; and ENNIS LODGING, LLC
                                       9
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                                      10
                                      11                          UNITED STATES DISTRICT COURT
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                                      12                         CENTRAL DISTRICT OF CALIFORNIA
                                      13 MANMOHAN CHHABRA;
                                         PARSHOTAM KAMBOJ; RANJIT                Case No. CV11-03724-RGK (VBKx)
                                      14 SINGH; DARSHAN SINGH; SHERBIR
                                         SANT; SURINDER-PAL ARORA;
                                      15 SURINDER-PAL ARORA; SANTOKH ANSWER TO COMPLAINT BY
                                         ARORA; and PACIFIC HOSPITALITY, ENNIS LODGING, LLC
                                      16 LLC. a Texas limited liability company,
                                      17           Plaintiffs,                         Complaint Filed: May 25, 2010
                                                                                       Trial Date:      None Set
                                      18           v.
                                      19 MEHUL PATEL aka MIKE PATEL;
                                         CHIRAG PATEL aka CHUCK PATEL;
                                      20 JAGMOHAN DHILLON; SAGESTAR
                                         MANAGEMENT GP, LLC, a Texas
                                      21 limited liability company; SAGESTAR
                                         HOLDINGS, LTD, a Texas limited
                                      22 partnership; DENISON LODGING, LLC,
                                         a Texas limited liability company;
                                      23 CORSICANA LODGING, LLC, a Texas
                                         limited liability company, DAXESH
                                      24 PATEL; SANJAY PATEL; and ENNIS
                                         LODGING, LLC, a Texas limited liability
                                      25 company.
                                      26                              Defendants.
                                      27
                                      28
                                           SM01DOCS\836053.2
                                                                  ANSWER TO COMPLAINT BY ENNIS LODGING, LLC
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                                       1           Defendant Ennis Lodging, LLC, a Texas limited liability company, hereby
                                       2 files this Answer to Plaintiffs’ Amended Complaint dated March 3, 2011, which
                                       3 added Ennis Lodging, LLC (“Ennis Lodging”) as a Defendant to this suit and was
                                       4 received by Ennis Lodging on April 20, 2011.            In answering, Ennis Lodging
                                       5 responds to the allegations set forth in Plaintiffs’ Original Complaint (“Plaintiffs’
                                       6 Complaint”), which was attached to the Amended Complaint form that named Ennis
                                       7 Lodging as a Defendant. Ennis Lodging denies the allegations and characterizations
                                       8 in Plaintiffs’ Complaint unless expressly admitted below.
                                       9                                         ANSWER
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                                      10           1.      Ennis Lodging lacks sufficient knowledge to confirm or deny the
                                      11 allegations and content of Paragraph 1 of Plaintiffs’ Complaint and therefore denies
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                                      12 the same.
                                      13           2.      Ennis Lodging lacks sufficient knowledge to confirm or deny the
                                      14 allegations and content of Paragraph 2 of Plaintiffs’ Complaint and therefore denies
                                      15 the same.
                                      16           3.      Ennis Lodging lacks sufficient knowledge to confirm or deny the
                                      17 allegations and content of Paragraph 3 of Plaintiffs’ Complaint and therefore denies
                                      18 the same.
                                      19           4.      Ennis Lodging lacks sufficient knowledge to confirm or deny the
                                      20 allegations and content of Paragraph 4 of Plaintiffs’ Complaint and therefore denies
                                      21 the same.
                                      22           5.      Ennis Lodging lacks sufficient knowledge to confirm or deny the
                                      23 allegations and content of Paragraph 5 of Plaintiffs’ Complaint and therefore denies
                                      24 the same.
                                      25           6.      Ennis Lodging lacks sufficient knowledge to confirm or deny the
                                      26 allegations and content of Paragraph 6 of Plaintiffs’ Complaint and therefore denies
                                      27 the same.
                                      28
                                           SM01DOCS\836053.2                         1
                                                                  ANSWER TO COMPLAINT BY ENNIS LODGING, LLC
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                                       1           7.      Ennis Lodging lacks sufficient knowledge to confirm or deny the
                                       2 allegations and content of Paragraph 7 of Plaintiffs’ Complaint and therefore denies
                                       3 the same.
                                       4           8.      Based upon public records available from the Texas Secretary of State,
                                       5 Ennis Lodging admits that Plaintiff Pacific Hospitality is a Texas limited liability
                                       6 company. To the extent the paragraph contains further content or allegations, Ennis
                                       7 Lodging denies such allegations and content.
                                       8           9.      Ennis Lodging admits Defendant Mehul Patel (aka Mike Patel) is and
                                       9 at all time relevant herein was a resident of Rockwall, Texas.
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                                      10           10.     Ennis Lodging admits Defendant Chirag Patel (aka Chuck Patel) is and
                                      11 at all time relevant herein was a resident of Euless, Texas.
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                                      12           11.     Ennis Lodging denies the allegations in Paragraph 11 of Plaintiffs’
                                      13 Complaint.            Based upon information and belief, Ennis Lodging understands
                                      14 Defendant Jagmohan Dhillon is and was at all relevant times herein a resident of
                                      15 Texas.
                                      16           12.     Ennis Lodging admits Sagestar Management GP, LLC is a Texas
                                      17 limited liability company.
                                      18           13.     Ennis Lodging denies the allegations in Paragraph 13 of Plaintiffs’
                                      19 Complaint. Sagestar Holdings, Ltd. is a Texas limited partnership.
                                      20           14.     Ennis Lodging admits Dennison Lodging, LLC is a Texas limited
                                      21 liability company.
                                      22           15.     Ennis Lodging admits Corsicana Lodging, LLC is a Texas limited
                                      23 liability company.
                                      24           16.     Ennis Lodging denies the allegations and content of Paragraph 16 of
                                      25 Plaintiffs’ Complaint.
                                      26           17.     Ennis Lodging denies the allegations and content of Paragraph 17 of
                                      27 Plaintiffs’ Complaint.
                                      28
                                           SM01DOCS\836053.2                           2
                                                                    ANSWER TO COMPLAINT BY ENNIS LODGING, LLC
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                                       1           18.     Ennis Lodging denies the allegations and content of Paragraph 18 of
                                       2 Plaintiffs’ Complaint.
                                       3           19.     Ennis Lodging denies the allegations and content of Paragraph 19 of
                                       4 Plaintiffs’ Complaint.
                                       5           20.     Ennis Lodging denies the allegations and content of Paragraph 20 of
                                       6 Plaintiffs’ Complaint.
                                       7           21.     Ennis Lodging denies the allegations and content of Paragraph 21 of
                                       8 Plaintiffs’ Complaint.
                                       9           22.     Ennis Lodging denies the allegations and content of Paragraph 22 of
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                                      10 Plaintiffs’ Complaint.
                                      11           23.     Ennis Lodging denies the allegations and content of Paragraph 23 of
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                                      12 Plaintiffs’ Complaint.
                                      13           24.     Ennis Lodging lacks sufficient knowledge to confirm or deny the
                                      14 allegations and content of Paragraph 24 of Plaintiffs’ Complaint and therefore
                                      15 denies the same.
                                      16           25.     Ennis Lodging lacks sufficient knowledge to confirm or deny the
                                      17 allegations and content of Paragraph 25 of Plaintiffs’ Complaint and therefore
                                      18 denies the same.
                                      19           26.     Ennis Lodging lacks sufficient knowledge to confirm or deny the
                                      20 allegations and content of Paragraph 26 of Plaintiffs’ Complaint and therefore
                                      21 denies the same.
                                      22           27.     Ennis Lodging denies the allegations and content of Paragraph 27 of
                                      23 Plaintiffs’ Complaint.
                                      24           28.     Paragraph 28 of Plaintiffs’ Complaint does not require a response from
                                      25 Ennis Lodging. To the extent a response is deemed necessary, Ennis Lodging
                                      26 denies the allegations and content of the paragraph.
                                      27
                                      28
                                           SM01DOCS\836053.2                          3
                                                                   ANSWER TO COMPLAINT BY ENNIS LODGING, LLC
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                                       1           29.     Ennis Lodging lacks sufficient knowledge to confirm or deny the
                                       2 allegations and content of Paragraph 29 of Plaintiffs’ Complaint and therefore
                                       3 denies the same.
                                       4           30.     Paragraph 30 of Plaintiffs’ Complaint does not require a response from
                                       5 Ennis Lodging. To the extent a response is deemed necessary, Ennis Lodging
                                       6 denies the allegations and content of the paragraph.
                                       7           31.     Ennis Lodging lacks sufficient knowledge to confirm or deny the
                                       8 allegations and content of Paragraph 31 of Plaintiffs’ Complaint and therefore
                                       9 denies the same.
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                                      10           32.     Ennis Lodging lacks sufficient knowledge to confirm or deny the
                                      11 allegations and content of the first two sentence of Paragraph 32 of Plaintiffs’
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                                      12 Complaint and therefore denies the same. The final sentence of Paragraph 32 does
                                      13 not require a response from Ennis Lodging. To the extent a response is deemed
                                      14 necessary, Ennis Lodging denies the allegations and content of that last sentence.
                                      15           33.     Ennis lodging admits Pacific Hospitality, LLC was a buyer of property
                                      16 in Mount Pleasant, Texas. Ennis Lodging, however, lacks sufficient knowledge to
                                      17 confirm or deny the remaining allegations and content of Paragraph 33 of Plaintiffs’
                                      18 Complaint and therefore denies the same.
                                      19           34.     Ennis Lodging lacks sufficient knowledge to confirm or deny the
                                      20 allegations and content of Paragraph 34 of Plaintiffs’ Complaint and therefore
                                      21 denies the same.
                                      22           35.     Ennis Lodging lacks sufficient knowledge to confirm or deny the
                                      23 allegations and content of Paragraph 35 of Plaintiffs’ Complaint and therefore
                                      24 denies the same.
                                      25           36.     Ennis Lodging denies the first sentence of Paragraph 36 of Plaintiffs’
                                      26 Complaint. Based upon information and belief, Ennis Lodging understands that at
                                      27 no time was Pacific Hospitality, LLC involved in purchasing property in Corsicana,
                                      28 Texas. Ennis Lodging lacks sufficient knowledge to confirm or deny the remaining
                                           SM01DOCS\836053.2                          4
                                                                   ANSWER TO COMPLAINT BY ENNIS LODGING, LLC
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                                       1 allegations and content of Paragraph 36 of Plaintiffs’ Complaint and therefore
                                       2 denies the same.
                                       3           37.     Based upon information and belief, Ennis Lodging denies that Pacific
                                       4 Hospitality, LLC was involved in purchasing property in Denison, Texas. Ennis
                                       5 Lodging lacks sufficient knowledge to confirm or deny the remaining allegations
                                       6 and content of Paragraph 37 of Plaintiffs’ Complaint and therefore denies the same.
                                       7           38.     Ennis Lodging denies the allegations and content of Paragraph 38 of
                                       8 Plaintiffs’ Complaint.
                                       9           39.     Ennis Lodging denies the allegations and content of Paragraph 39 of
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                                      10 Plaintiffs’ Complaint.
                                      11           40.     Ennis Lodging lacks sufficient knowledge to confirm or deny the
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                                      12 allegations and content of Paragraph 40 of Plaintiffs’ Complaint and therefore
                                      13 denies the same.
                                      14           41.     Ennis Lodging denies the allegations and content of Paragraph 41 of
                                      15 Plaintiffs’ Complaint.
                                      16           42.     Ennis Lodging denies the allegations and content of Paragraph 42 of
                                      17 Plaintiffs’ Complaint.
                                      18                                 FIRST CAUSE OF ACTION
                                      19                                 For Breach of Fiduciary Duty
                                      20           43.     Ennis Lodging denies the allegations and content of Paragraph 43 of
                                      21 Plaintiffs’ Complaint.
                                      22           44.     Paragraph 44 of Plaintiffs’ Complaint does not require a response from
                                      23 Ennis Lodging. To the extent a response is deemed necessary, Ennis Lodging
                                      24 denies the allegations and content of the paragraph.
                                      25           45.     Paragraph 45 of Plaintiffs’ Complaint does not require a response from
                                      26 Ennis Lodging. To the extent a response is deemed necessary, Ennis Lodging
                                      27 denies the allegations and content of the paragraph.
                                      28
                                           SM01DOCS\836053.2                          5
                                                                   ANSWER TO COMPLAINT BY ENNIS LODGING, LLC
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                                       1           46.     Ennis Lodging denies the allegations and content of Paragraph 46 of
                                       2 Plaintiffs’ Complaint.
                                       3           47.     Ennis Lodging denies the allegations and content of Paragraph 47 of
                                       4 Plaintiffs’ Complaint.
                                       5           48.     Ennis Lodging denies the allegations and content of Paragraph 48 of
                                       6 Plaintiffs’ Complaint.
                                       7           49.     Ennis Lodging denies the allegations and content of Paragraph 49 of
                                       8 Plaintiffs’ Complaint.
                                       9                               SECOND CAUSE OF ACTION
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                                      10                                          For Fraud
                                      11           50.     Ennis Lodging denies the allegations and content of Paragraph 50 of
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                                      12 Plaintiffs’ Complaint.
                                      13           51.     Ennis Lodging denies the allegations and content of Paragraph 51 of
                                      14 Plaintiffs’ Complaint.
                                      15           52.     Paragraph 52 of Plaintiffs’ Complaint does not require a response from
                                      16 Ennis Lodging. To the extent a response is deemed necessary, Ennis Lodging
                                      17 denies the allegations and content of the paragraph.
                                      18           53.     Ennis Lodging denies the allegations and content of Paragraph 53 of
                                      19 Plaintiffs’ Complaint.
                                      20           54.     Ennis Lodging denies the allegations and content of Paragraph 54 of
                                      21 Plaintiffs’ Complaint.
                                      22           55.     Ennis Lodging denies the allegations and content of Paragraph 55 of
                                      23 Plaintiffs’ Complaint.
                                      24           56.     Ennis Lodging denies the allegations and content of Paragraph 56 of
                                      25 Plaintiffs’ Complaint.
                                      26           57.     Ennis Lodging denies the allegations and content of Paragraph 57 of
                                      27 Plaintiffs’ Complaint.
                                      28
                                           SM01DOCS\836053.2                          6
                                                                   ANSWER TO COMPLAINT BY ENNIS LODGING, LLC
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                                       1           58.      Ennis Lodging denies the allegations and content of Paragraph 58 of
                                       2 Plaintiffs’ Complaint.
                                       3                                  THIRD CAUSE OF ACTION
                                       4                                   For Fraudulent Concealment
                                       5           59.      Ennis Lodging denies the allegations and content of Paragraph 59 of
                                       6 Plaintiffs’ Complaint.
                                       7           60.      Paragraph 60 of Plaintiffs’ Complaint does not require a response from
                                       8 Ennis Lodging. To the extent a response is deemed necessary, Ennis Lodging
                                       9 denies the allegations and content of the paragraph.
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                                      10           61.      Ennis Lodging denies the allegations and content of Paragraph 61 of
                                      11 Plaintiffs’ Complaint.
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                                      12           62.      Ennis Lodging denies the allegations and content of Paragraph 62 of
                                      13 Plaintiffs’ Complaint.
                                      14           63.      Ennis Lodging denies the allegations and content of Paragraph 63 of
                                      15 Plaintiffs’ Complaint.
                                      16           64.      Ennis Lodging denies the allegations and content of Paragraph 64 of
                                      17 Plaintiffs’ Complaint.
                                      18           65.      Ennis Lodging denies the allegations and content of Paragraph 65 of
                                      19 Plaintiffs’ Complaint.
                                      20                                 FOURTH CAUSE OF ACTION
                                      21                 For Sale of Securities in Violation of Qualification Requirements
                                      22           66.      Ennis Lodging denies the allegations and content of Paragraph 66 of
                                      23 Plaintiffs’ Complaint.
                                      24           67.      Ennis Lodging denies the allegations and content of Paragraph 67 of
                                      25 Plaintiffs’ Complaint.
                                      26           68.      Ennis Lodging denies the allegations and content of Paragraph 68 of
                                      27 Plaintiffs’ Complaint.
                                      28
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                                                                    ANSWER TO COMPLAINT BY ENNIS LODGING, LLC
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                                       1           69.     Ennis Lodging denies the allegations and content of Paragraph 69 of
                                       2 Plaintiffs’ Complaint.
                                       3                                   FIFTH CAUSE OF ACTION
                                       4                           For Violation of 18 U.S.C. § 1962(c) (RICO)
                                       5           70.     Ennis Lodging denies the allegations and content of Paragraph 70 of
                                       6 Plaintiffs’ Complaint.
                                       7           71.     Paragraph 71 of Plaintiffs’ Complaint does not require a response from
                                       8 Ennis Lodging. To the extent a response is deemed necessary, Ennis Lodging
                                       9 denies the allegations and content of the paragraph.
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                                      10           72.     Paragraph 72 of Plaintiffs’ Complaint does not require a response from
                                      11 Ennis Lodging. To the extent a response is deemed necessary, Ennis Lodging
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                                      12 denies the allegations and content of the paragraph.
                                      13           73.     Ennis Lodging denies the allegations and content of Paragraph 73 of
                                      14 Plaintiffs’ Complaint.
                                      15           74.     Ennis Lodging denies the allegations and content of Paragraph 74 of
                                      16 Plaintiffs’ Complaint.
                                      17           75.     Ennis Lodging denies the allegations and content of Paragraph 75 of
                                      18 Plaintiffs’ Complaint.
                                      19                                   FIFTH CAUSE OF ACTION
                                      20                       For Unfair Business Practice in Violation of California
                                      21                           Business & Professions Code § 17200, et seq.
                                      22           76.     Ennis Lodging denies the allegations and content of Paragraph 76 of
                                      23 Plaintiffs’ Complaint.
                                      24           77.     Ennis Lodging denies the allegations and content of Paragraph 77 of
                                      25 Plaintiffs’ Complaint.
                                      26           78.     Ennis Lodging denies the allegations and content of Paragraph 78 of
                                      27 Plaintiffs’ Complaint.
                                      28
                                           SM01DOCS\836053.2                             8
                                                                     ANSWER TO COMPLAINT BY ENNIS LODGING, LLC
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                                       1                                       Plaintiffs’ Prayer
                                       2                             ON THE FIRST CAUSE OF ACTION
                                       3           1.      Ennis Lodging denies the Plaintiffs’ are entitled to the relief sought in
                                       4 the first paragraph on Cause of Action Number One in their Prayer for Relief.
                                       5           2.      Ennis Lodging denies the Plaintiffs’ are entitled to the relief sought in
                                       6 the second paragraph on Cause of Action Number One in their Prayer for Relief.
                                       7           3.      Ennis Lodging denies the Plaintiffs’ are entitled to the relief sought in
                                       8 the third paragraph on Cause of Action Number One in their Prayer for Relief.
                                       9                           ON THE SECOND CAUSE OF ACTION
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                                      10           1.      Ennis Lodging denies the Plaintiffs’ are entitled to the relief sought in
                                      11 the first paragraph on Cause of Action Number Two in their Prayer for Relief.
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                                      12           2.      Ennis Lodging denies the Plaintiffs’ are entitled to the relief sought in
                                      13 the second paragraph on Cause of Action Number Two in their Prayer for Relief.
                                      14           3.      Ennis Lodging denies the Plaintiffs’ are entitled to the relief sought in
                                      15 the third paragraph on Cause of Action Number Two in their Prayer for Relief.
                                      16                            ON THE THIRD CAUSE OF ACTION
                                      17           1.      Ennis Lodging denies the Plaintiffs’ are entitled to the relief sought in
                                      18 the first paragraph on Cause of Action Number Three in their Prayer for Relief.
                                      19           2.      Ennis Lodging denies the Plaintiffs’ are entitled to the relief sought in
                                      20 the second paragraph on Cause of Action Number Three in their Prayer for Relief.
                                      21           3.      Ennis Lodging denies the Plaintiffs’ are entitled to the relief sought in
                                      22 the third paragraph on Cause of Action Number Three in their Prayer for Relief.
                                      23                           ON THE FOURTH CAUSE OF ACTION
                                      24           1.      Ennis Lodging denies the Plaintiffs’ are entitled to the relief sought in
                                      25 the first paragraph on Cause of Action Number Four in their Prayer for Relief.
                                      26           2.      Ennis Lodging denies the Plaintiffs’ are entitled to the relief sought in
                                      27 the second paragraph on Cause of Action Number Four in their Prayer for Relief.
                                      28
                                           SM01DOCS\836053.2                           9
                                                                   ANSWER TO COMPLAINT BY ENNIS LODGING, LLC
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                                       1           3.      Ennis Lodging denies the Plaintiffs’ are entitled to the relief sought in
                                       2 the third paragraph on Cause of Action Number Four in their Prayer for Relief.
                                       3                             ON THE FIFTH CAUSE OF ACTION
                                       4           1.      Ennis Lodging denies the Plaintiffs’ are entitled to the relief sought in
                                       5 the first paragraph on Cause of Action Number Five in their Prayer for Relief.
                                       6           2.      Ennis Lodging denies the Plaintiffs’ are entitled to the relief sought in
                                       7 the second paragraph on Cause of Action Number Five in their Prayer for Relief.
                                       8           3.      Ennis Lodging denies the Plaintiffs’ are entitled to the relief sought in
                                       9 the third paragraph on Cause of Action Number Five in their Prayer for Relief.
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                                      10                            ON THE SIXTH CAUSE OF ACTION
                                      11           1.      Ennis Lodging denies the Plaintiffs’ are entitled to the relief sought in
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                                      12 the first paragraph on Cause of Action Number Six in their Prayer for Relief.
                                      13           2.      Ennis Lodging denies the Plaintiffs’ are entitled to the relief sought in
                                      14 the second paragraph on Cause of Action Number Six in their Prayer for Relief.
                                      15           3.      Ennis Lodging denies the Plaintiffs’ are entitled to the relief sought in
                                      16 the third paragraph on Cause of Action Number Six in their Prayer for Relief.
                                      17                                ON ALL CAUSES OF ACTION
                                      18           1.      Ennis Lodging denies the Plaintiffs’ are entitled to the relief sought in
                                      19 the first paragraph for All Causes of Action as set forth in their Prayer for Relief.
                                      20           2.      Ennis Lodging denies the Plaintiffs’ are entitled to the relief sought in
                                      21 the second paragraph for All Causes of Action as set forth in their Prayer for Relief.
                                      22           3.      Ennis Lodging denies the Plaintiffs’ are entitled to the relief sought in
                                      23 the third paragraph for All Causes of Action as set forth in their Prayer for Relief.
                                      24                                 AFFIRMATIVE DEFENSES
                                      25                              FIRST AFFIRMATIVE DEFENSE
                                      26           1.      Ennis Lodging alleges as an affirmative defense that Plaintiffs have not
                                      27 alleged any cause of action or stated any facts sufficient to state a claim upon which
                                      28 relief can be granted against it or any Defendant.
                                           SM01DOCS\836053.2                           10
                                                                   ANSWER TO COMPLAINT BY ENNIS LODGING, LLC
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                                       1                             SECOND AFFIRMATIVE DEFENSE
                                       2           2.      Ennis Lodging alleges as an affirmative defense that Plaintiffs have
                                       3 released it, as well as other Defendants, from some and/or all liability for the claims
                                       4 made in their Complaint.
                                       5                              THIRD AFFIRMATIVE DEFENSE
                                       6           3.      Ennis Lodging alleges as an affirmative defense that Plaintiffs’ claims
                                       7 are barred under the doctrine of laches.
                                       8                             FOURTH AFFIRMATIVE DEFENSE
                                       9           4.      Ennis Lodging alleges as an affirmative defense that Plaintiffs’ claims
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                                      10 are barred under the doctrine of waiver.
                                      11                              FIFTH AFFIRMATIVE DEFENSE
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                                      12           5.      Ennis Lodging alleges as an affirmative defense that Plaintiffs’ claims
                                      13 are barred under the doctrine of estoppel.
                                      14                              SIXTH AFFIRMATIVE DEFENSE
                                      15           6.      Ennis Lodging alleges as an affirmative defense that Plaintiffs’ claims
                                      16 are barred under the doctrine of unclean hands.
                                      17                            SEVENTH AFFIRMATIVE DEFENSE
                                      18           7.      Ennis Lodging alleges as an affirmative defense that Plaintiffs’ claims
                                      19 are barred under the applicable statutes of limitations including, without limitation,
                                      20 those imposed by California Code of Civil Procedure §§ 338 and 343, California
                                      21 Corporations Code § 25507, California Business and Professions Code § 17208, and
                                      22 15 U.S.C. § 15b.
                                      23                             EIGHTH AFFIRMATIVE DEFENSE
                                      24           8.      Ennis Lodging alleges as an affirmative defense that Plaintiffs failed to
                                      25 mitigate their damages, if any, and are therefore not entitled to the relief sought in
                                      26 their Complaint.
                                      27
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                                           SM01DOCS\836053.2                           11
                                                                   ANSWER TO COMPLAINT BY ENNIS LODGING, LLC
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                                       1                              NINTH AFFIRMATIVE DEFENSE
                                       2           9.      Ennis Lodging alleges as an affirmative defense that to the extent it has
                                       3 any such duties, it, like the other Defendants, has met any duties for good faith and
                                       4 fair dealing toward the Plaintiffs.
                                       5                              TENTH AFFIRMATIVE DEFENSE
                                       6           10.     Ennis Lodging alleges as an affirmative defense that Plaintiffs have not
                                       7 alleged and cannot prove facts that give rise to a claim for punitive damages under
                                       8 California or federal law.
                                       9                           ELEVENTH AFFIRMATIVE DEFENSE
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                                      10           11.     Ennis Lodging alleges as an affirmative defense that punitive damages
                                      11 as sought by Plaintiffs are prohibited under applicable state and/or federal law.
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                                      12                            TWELFTH AFFIRMATIVE DEFENSE
                                      13           12.     Ennis Lodging alleges as an affirmative defense that Plaintiffs’ claims
                                      14 are barred by public policy.
                                      15                          THIRTEENTH AFFIRMATIVE DEFENSE
                                      16           13.     Ennis Lodging alleges as an affirmative defense that any and all of its
                                      17 acts, like the other Defendants, are and were permitted by law.
                                      18                         FOURTEENTH AFFIRMATIVE DEFENSE
                                      19           14.     Ennis Lodging alleges as an affirmative defense that Plaintiffs lack
                                      20 standing.
                                      21                           FIFTEENTH AFFIRMATIVE DEFENSE
                                      22           15.     Ennis Lodging alleges as an affirmative defense that jurisdiction and
                                      23 venue of this matter is not proper in the state of California or this district.
                                      24                           SIXTEENTH AFFIRMATIVE DEFENSE
                                      25           16.     Ennis Lodging alleges as an affirmative defense that any acts attributed
                                      26 to Defendants are not chargeable under state or federal law.
                                      27
                                      28
                                           SM01DOCS\836053.2                           12
                                                                   ANSWER TO COMPLAINT BY ENNIS LODGING, LLC
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                                       1                         SEVENTEENTH AFFIRMATIVE DEFENSE
                                       2           17.     Ennis Lodging alleges as an affirmative defense that Plaintiffs failed to
                                       3 use that degree of care as would have been used by a reasonably prudent person
                                       4 under the same or similar circumstances, thereby producing or proximately causing
                                       5 or contributing to cause their damages, if any.
                                       6                          EIGHTEENTH AFFIRMATIVE DEFENSE
                                       7           18.     Ennis Lodging alleges as an affirmative defense that Plaintiffs’
                                       8 damages, if any, were caused by acts of third persons not under its control. Such
                                       9 acts or omissions of said third persons may have been the sole, producing, and/or
Santa Monica, California 90401-2386




                                      10 proximate cause of Plaintiffs’ damages, if any.
                                      11                                  REQUEST FOR RELIEF
      120 Broadway, Suite 300
          Bryan Cave LLP




                                      12           WHEREFORE, PREMISES CONSIDERED, Defendant, Ennis Lodging,
                                      13 LLC, respectfully prays that Plaintiffs take nothing by this suit, that Defendant be
                                      14 permitted to recover all costs and expenses incurred on its behalf, and for such other
                                      15 and further relief to which it may show itself justly entitled.
                                      16
                                      17 Dated: May 10, 2011                         BRYAN CAVE LLP
                                      18
                                                                                     /s/ Jep P. White
                                      19                                                 Jed P. White
                                      20                                             Attorneys for Defendants MEHUL PATEL
                                                                                     aka MIKE PATEL; CHIRAG PATEL aka
                                      21                                             CHUCK PATEL; SAGESTAR
                                                                                     MANAGEMENT GP, LLC; SAGESTAR
                                      22                                             HOLDINGS, LTD; DENISON LODGING,
                                                                                     LLC; CORSICANA LODGING, LLC;
                                      23                                             DAXESH PATEL; SANJAY PATEL; and
                                                                                     ENNIS LODGING, LLC
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                                                                   ANSWER TO COMPLAINT BY ENNIS LODGING, LLC
